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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 17-1941-GW(Ex)                                             Date      April 19, 2018
 Title             Grant McKee v. Audible, Inc., et al.




 Present: The Honorable           GEORGE H. WU, UNITED STATES DISTRICT JUDGE
                Javier Gonzalez                           Katie Thibodeaux
                 Deputy Clerk                        Court Reporter / Recorder                   Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                  Jamin Samuel Soderstrom                            Jedediah Wakefield by telephone
                                                                     Annasara G. Purcell by telephone
 PROCEEDINGS:                   STATUS CONFERENCE


Court and counsel confer. The Court sets a hearing on Plaintiff’s motion for class certification for
December 3, 2018 at 8:30 a.m. Parties may stipulate to the briefing schedule, except the reply, which
will be filed by November 19, 2018. Initial disclosures will be due by May 21, 2018 and discovery is
open for all purposes.




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                                                               Initials of Preparer   JG
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